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                                  STATEMENT OF FACTS

        Your affiant, Benjamin Miller, is a Task Force Officer assigned to the Federal Bureau of
Investigation (“FBI”), Cincinnati Field Office, Joint Terrorism Task Force. Currently, I am tasked
with investigating criminal activity in and around the U.S. Capitol grounds on January 6, 2021. As
a Task Force Officer, I am authorized by law or by a Government agency to engage in or supervise
the prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the U.S. Capitol to certify the vote count of the Electoral College
of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the U.S. Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

          On January 8, 2021, an anonymous complainant, Complainant #1, contacted the FBI
Internet Tip Line reporting that B.M, along with her boyfriend, PAUL LEE SEYMOUR, JR.
(“SEYMOUR JR”) attended the “protest” at the U.S. Capitol on January 6, 2021. Complainant #1
reported that SEYMOUR JR sent B.M. a video recording of himself inside the Capitol Building
destroying property, stealing items, and violating curfew restrictions. Complainant #1 stated that
B.M. uploaded this video to her Facebook account; the videos have since been deleted and were
not able to be retrieved by your affiant. Your affiant and FBI Task Force Officer Ron Willison
contacted B.M.’s employer, who verified that B.M. was at work in Cincinnati, Ohio on January 6,
2021, thus she is not considered a suspect in this case and, for this reason, she is identified by her
initials.

        On January 13, 2021, a second complainant, Complainant #2 submitted images 1-4 to the
FBI via the FBI’s US Capitol Complaint Portal. Complainant #2 stated their belief that the photos
show SEYMOUR JR, along with others, inside the Capitol Building during the breach of the
Capitol on January 6, 2021. Complainant #2 included a caption on a photo which read, “This is to
help identify one of the domestic terrorist who attacked the capital. His name is Paul Lee Seymour.
He lives in Hamilton Ohio.”
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Image 1.
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Image 2.
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Image 3.
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Image 4.




       On January 21, 2021, the FBI engaged in investigative measures to compare the
photographs obtained from Complainant #2 and photographs and video obtained from multiple
sources and tips, including video captured by the U.S. Capitol Police on January 6, 2021.

       On January 22, 2021, the FBI’s investigation revealed additional images of SEYMOUR
JR and his father, PAUL LEE SEYMOUR, SR. (“SEYMOUR SR”), (collectively, “the
SEYMOURS”), exiting the U.S. Capitol Building via the Chestnut-Gibson Memorial Doors on
January 6, 2021. Images 5-8. SEYMOUR JR appears in Images 5-7, while SEYMOUR SR,
wearing a dark-colored jacket, jeans and knit ski-type cap, appears in Images 7 and 8.
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Image 5.




Image 6.
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Image 7.




Image 8.
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     The FBI was able to obtain video captured by the U.S. Capitol Police on January 6, 2021, of
SEYMOUR JR exiting the Memorial Doors at approximately 3:33 p.m. as shown in Image 9.

Image 9.




        After exiting through the Memorial Doors on the East side of the U.S. Capitol Building at
approximately 3:33 p.m., SEYMOUR JR made his way around the building to the Upper Terrace on the
West side of the building by approximately 4:35 p.m., as captured in Image 10.
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Image 10.




        The FBI’s investigation revealed Image 11, which captured the SEYMOURS in the Crypt inside
the U.S. Capitol Building on January 6, 2021.

Image 11.
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        The FBI investigation also uncovered an image of SEYMOUR JR outside the U.S. Capitol
Building during the evening of January 6, 2021, in front of a line of law enforcement officers. Image 12.

Image 12.




        On February 11, 2021, your affiant identified information that a phone number ending in
-1842, that belongs to SEYMOUR SR, was inside the U.S. Capitol Building on January 6, 2021.
The first connection time for this number was at 1440 hrs. EST and the latest disconnect time was
1632 hrs. EST. No phone numbers associated with SEYMOUR JR were identified as being inside
the U.S. Capitol Building on that date.

        On June 2, 2021, FBI Task Force Officer Ron Willison and FBI Special Agent Caleb Yokley
engaged in a non-custodial interview of SEYMOUR SR at his place of employment. SEYMOUR
SR was read his Miranda warnings and was presented with a written copy of the Miranda waiver
which he willingly and voluntarily signed prior to being asked any questions. Afterward,
SEYMOUR SR admitted to entering the U.S. Capitol Building on January 6, 2021, with his son
SEYMOUR JR. SEYMOUR SR stated that he and his son entered through an open side entry
door and also exited the Capitol through that same doorway after being told to leave the area by
police officers. While exiting through that doorway, SEYMOUR SR noticed another set of open
doors and followed the crowd into the Capitol again. Once inside the Capitol Building,
SEYMOUR SR stated that he and his son entered a room with multiple statues in it. [Image 11
shows the SEYMOURS inside the Crypt of the Capitol Building.] SEYMOUR SR indicated that
he believed they were inside the Capitol Building for approximately nine minutes before additional
police officers arrived and escorted everyone out of the building. While at the Capitol, SEYMOUR
SR stated that he witnessed individuals breaking exterior windows. After leaving the Capitol,
SEYMOUR SR stated he and his son took additional photos outside the building before they
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proceeded to their vehicle. [Image 12 shows a nighttime photo of SEYMOUR JR outside the
Capitol.]

         On June 2, 2021 your affiant also engaged in a non-custodial interview of SEYMOUR JR
at his residence. SEYMOUR JR was read his Miranda warnings and was presented with a written
copy of the Miranda waiver which he willingly and voluntarily signed prior to being asked any
questions. Afterward, SEYMOUR JR admitted to entering the U.S. Capitol Building on January
6, 2021, with his father, SEYMOUR SR. SEYMOUR JR stated that, prior to entering the Capitol
Building, he saw a woman that he did not believe to be a “worker” open a “side door” to the Capitol
Building and people began to gain entry to the Capitol through that door. A short time later, people
were ushered back out the Capitol through that door. At the same time, SEYMOUR JR noticed
that pepper spray had been deployed and the SEYMOURS prepared to leave the “courtyard,” but
SEYMOUR JR noticed that two doors, approximately 40 feet in front of him, had opened. The
SEYMOURS entered the Capitol through these open doors, walking past law enforcement officers
who lined the hallway. SEYMOUR JR claimed these officers did not make any attempt, verbally
or physically, to prevent entry to the building, instead they said, “have a good day” and “hey, how
are you.” Inside the Capitol, SEYMOUR JR stated that he and his father, SEYMOUR SR, walked
down a hallway lined with statues, which appears to be the National Statuary Hall. SEYMOUR
JR stated that he and SEYMOUR SR also walked past a room labeled “Oregon Room,” before
entering into a “museum room” where they spent approximately one hour before being asked to
leave by law enforcement.

       SEYMOUR JR was shown Images 1-8 and he identified himself and SEYMOUR SR in
the appropriate photos.

        A search warrant was executed at the time of the interview of SEYMOUR JR and your
affiant located the black overalls and flag that SEYMOUR JR wore at the U.S. Capitol on January 6,
2021. Your affiant also seized SEYMOUR JR’s cell phone which contains photographs that SEYMOUR
JR took while inside the U.S. Capitol Building on January 6, 2021.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
PAUL LEE SEYMOUR, SR. and PAUL LEE SEYMOUR, JR. violated 18 U.S.C. § 1752(a)(1)
and (2), which makes it a crime to (1) knowingly enter or remain in any restricted building or
grounds without lawful authority to do; and (2) knowingly, and with intent to impede or disrupt
the orderly conduct of Government business or official functions, engage in disorderly or
disruptive conduct in, or within such proximity to, any restricted building or grounds when, or so
that, such conduct, in fact, impedes or disrupts the orderly conduct of Government business or
official functions; or attempts or conspires to do so. For purposes of Section 1752 of Title 18, a
“restricted building” includes a posted, cordoned off, or otherwise restricted area of a building or
grounds where the President or other person protected by the Secret Service, including the Vice
President, is or will be temporarily visiting; or any building or grounds so restricted in conjunction
with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that PAUL LEE SEYMOUR,
SR. and PAUL LEE SEYMOUR, JR. violated 40 U.S.C. § 5104(e)(2), which makes it a crime to
willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly
or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
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to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress and (G) parade, demonstrate, or picket in any
of the Capitol Buildings.


                                                     _________________________________
                                                     Benjamin C. Miller
                                                     Task Force Officer CI-10
                                                     FBI – Cincinnati JTTF

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 3rd day of December, 2021.                               Digitally signed by
                                                                     G. Michael Harvey
                                                                     Date: 2021.12.03
                                                     ___________________________________
                                                                     16:41:18 -05'00'
                                                     G. MICHAEL HARVEY
                                                     U.S. MAGISTRATE JUDGE
